            1:07-cr-10044-JBM-JAG # 96    Page 1 of 14
                                                                        E-FILED
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                                         Wednesday, 08 October, 2008 09:32:03     AM
                                                    Clerk, U.S. District Court, ILCD

 1

 2                UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF ILLINOIS
 3

 4 UNITED STATES OF AMERICA,    ) Docket No. 07-10044
                                )
 5        Plaintiff,            )
     vs.                        ) Peoria, Illinois
 6                              ) July 18, 2008
     COREY L. JOHNSON,          )
 7                              )
          Defendant.            )
 8   ___________________________)
 9
                     RECORD OF PROCEEDINGS
10                     SENTENCING HEARING
             BEFORE THE HONORABLE JOE BILLY MCDADE
11               UNITED STATES DISTRICT JUDGE
12                         THE APPEARANCES
13
                      BRADLEY MURPHY, ESQ.
14                  Assistant U.S. Attorney
                One Technology Plaza, Suite 400
15                     211 Fulton Street
                       Peoria, IL 61602
16                On behalf of the Plaintiff
17

18
                    JERRY A. SERRITELLA, ESQ.
19               411 Hamilton Blvd., Suite 1600
                        Peoria, IL 61602
20                 On behalf of the Defendant
21

22
                     Nancy Mersot, CSR, RPR
23           United States District Court Reporter
                     100 N.E. Monroe Street
24                     Peoria, IL 61602
25 Proceedings recorded by mechanical stenography,
     transcript produced by computer-aided transcription.
          1:07-cr-10044-JBM-JAG # 96   Page 2 of 14
                                                           2


 1            (Proceedings were held in open court.)
 2            THE CLERK:    Call the case of the United
 3 States of America v. Corey L. Johnson, criminal case

 4 07-10044.

 5            Will counsel please state their appearances.
 6            MR. MURPHY:   Brad Murphy for the United
 7 States.

 8            MR. SERRITELLA:   Jerry Serritella for the
 9 defendant.

10            THE COURT:    The record will reflect the
11 presence of the defendant Corey Johnson.

12            Back on April 2nd of this year the defendant
13 was found guilty after a jury trial of Count I of

14 the superseding indictment charging him with a

15 conspiracy to distribute more than five kilograms of

16 cocaine and more than 50 grams of crack cocaine.

17            The matter is before the Court today for
18 sentencing.    In that regard, the Presentence
19 Investigation Report has provided both sides for

20 comment.    And the commentary from both sides is
21 reflected in the addendum to the report found at

22 page 23 which indicates that the Government has no

23 objections to the Presentence Report .

24            Is that still the case, Mr. Murphy?
25            MR. MURPHY:   It is, Your Honor.
          1:07-cr-10044-JBM-JAG # 96   Page 3 of 14
                                                               3


 1         THE COURT:     Mr. Serritella, have you had a
 2 reasonable opportunity to review and discuss with

 3 your client the Presentence Report?

 4         MR. SERRITELLA:      Yes, Your Honor, and we
 5 didn't find anything objectionable in it.

 6         THE COURT:     All right.      Which is reflected
 7 in the addendum, I might add.

 8         Mr. Johnson, have you had a chance to read
 9 the Presentence Report?

10         THE DEFENDANT:      Yes.     I went over my prior
11 convictions and my family history, all that was

12 accurate, pretty much.

13         THE COURT:     And you discussed it with your
14 attorney?

15         THE DEFENDANT:      Yes, my prior convictions
16 and my family history.

17         THE COURT:     And as reported by your
18 attorney, you have no objections to the report?

19         THE DEFENDANT:      No, not about my prior
20 convictions or my family history.

21         THE COURT:     All right.      The Presentence
22 Report is placed in the record under seal.         On
23 appeal counsel shall have access to the sealed

24 report but not the recommendation section.

25         There being no objections to the report by
            1:07-cr-10044-JBM-JAG # 96   Page 4 of 14
                                                              4


 1 either side, the Court adopts the Presentence

 2 Investigation Report without change and the Court

 3 finds the defendant's advisory guideline range as

 4 set out in the report.        His total offense level is
 5 37, Criminal History Category Roman Numeral VI.       The
 6 advisory imprisonment range 360 months to life.

 7           And the Court would add that there is by
 8 statute a mandatory sentence of life imprisonment

 9 because of the defendant's past criminal history

10 that involves two felony prior felony drug

11 convictions.

12           Supervised release range is not authorized
13 because of the mandatory life sentence.

14           Fine range is 20,000 to $8 million.
15           Special assessment of $100.
16           And restitution is not applicable.
17           Does the Government have any objection to
18 the Court's finding as to the advisory guideline

19 range?

20           MR. MURPHY:     No, Judge, we agree with those.
21           THE COURT:     Does defense counsel?
22           MR. SERRITELLA:      No, Your Honor.
23           THE COURT:     Anything in aggravation by the
24 Government?

25           MR. MURPHY:     I do not have further evidence
            1:07-cr-10044-JBM-JAG # 96   Page 5 of 14
                                                                      5


 1 in aggravation, Judge.

 2           THE COURT:     Anything in mitigation by
 3 defense counsel?      In that connection I would
 4 indicate that I have received a letter on the

 5 defendant's behalf from his ex-wife which is part of

 6 the record.     Anything else?
 7           MR. SERRITELLA:      No, Your Honor.
 8           THE COURT:     Government comment on
 9 sentencing?

10           MR. MURPHY:     Will it please the Court, these
11 aren't happy days when the prosecutor comes to Court

12 with no discretion to recommend to the Court

13 anything but this kind of a sentence.                And in fact
14 the Court has no discretion to impose anything other

15 than a life sentence.

16           I would point out a couple of things to the
17 Court.    We really are here today in this posture
18 because the defendant with his horrendous prior

19 record chose to break the law in a big way.               We did,
20 we had a trial, and he had his day in court.

21           I want this Court to know that we are here
22 today because of additional choices the defendant

23 made.    I want the Court to know that the Government
24 did reach out or attempt to reach out to this

25 defendant to try to reach a result other than the
           1:07-cr-10044-JBM-JAG # 96   Page 6 of 14
                                                                   6


 1 sentence that must be imposed today.                The defendant
 2 chose otherwise.     So, again, these aren't happy days
 3 that we have to appear in court but nonetheless it

 4 is the law.    Thank you.
 5          THE COURT:     Mr. Serritella.
 6          MR. SERRITELLA:      Judge, I have nothing to
 7 add.   At this point it is mandatory life
 8 imprisonment.

 9          THE COURT:     All right.      The law allows the
10 defendant the right to make a statement.

11          Mr. Johnson, you have a right to make a
12 statement.    If you wish to make one, please do so
13 from the podium.

14          THE DEFENDANT:      How you doing, Judge McDade?
15 First off, I did write you a letter on my behalf.

16 Only reason that you know I did, you know, go to

17 trial, you know, because I felt I was, you know, not

18 guilty of the crime.      I still feel the same way.
19 You know, you know, I pleaded out to my two prior

20 convictions because I was guilty.            I would have
21 never wasted you, you know, the federal government's

22 time if I was guilty of the crime, you know, that

23 was committed.

24          You know, I had a few issues with my case,
25 Mr. Judge McDade, as far as what my counsel, you
          1:07-cr-10044-JBM-JAG # 96   Page 7 of 14
                                                                 7


 1 know, just some issues with the case in general that

 2 I would like to run down to you.

 3           First off, you know, my first, my prior
 4 counsel --

 5           THE COURT:   Let me interrupt you to say
 6 that, this is not the time for you to complain about

 7 your attorneys or the trial.         That's for purposes of
 8 appeal.   You have the right to appeal unless you
 9 have waived it.    No, you didn't waive it.
10           THE DEFENDANT:    No.
11           THE COURT:   So that that court could do
12 something about those issues.         At this point in time
13 the only issue I have to deal with right now is your

14 sentence.

15           So statements in reference to anything in
16 mitigation would be appropriate, but to complain to

17 me about the attorneys, as you did in your letter,

18 won't affect what happens here today.              But you have
19 a right, obviously, on appeal to bring those issues

20 to the attention of the appellate court.

21           Now so, you know, with that information, I
22 am prepared to hear whatever you have to say.

23           THE DEFENDANT:    Excuse me?
24           THE COURT:   With that instruction, I am
25 prepared to hear anything you have to say.
           1:07-cr-10044-JBM-JAG # 96   Page 8 of 14
                                                                 8


 1          THE DEFENDANT:      Okay.     Well, you know, I
 2 won't go into those issues then but, you know, I

 3 know the sentence that's supposed to be imposed on

 4 me is stiff, you know what I mean.            You know, you
 5 know, I hope that you have leniency on mean, you

 6 know.   I'm not sure that I had to get a life
 7 sentence, you know.      I just, you know, I have a
 8 family, you know.      You know, I have two kids.       I
 9 just hope you be lenient.

10          THE COURT:     Mr. Johnson, I can imagine that
11 the impact of the fact that you face a mandatory

12 life sentence must be quite real to you now.

13          THE DEFENDANT:      Yeah.
14          THE COURT:     That has been a risk from the
15 first day you were charged and as I recall you have

16 had six attorneys representing you.            I appointed
17 four.   I think you had two private attorneys.          And I
18 suspect that each of those attorneys told you that

19 you face a mandatory life if you were convicted, and

20 that your best procedure was to negotiate a plea.

21 I've got to believe those experienced attorneys told

22 you that.    And as I recall, you refused to follow
23 that advice.    You insisted that you were innocent
24 and you wanted a trial.       And you got the trial.         And
25 a jury found you guilty.        And now you face what you
           1:07-cr-10044-JBM-JAG # 96   Page 9 of 14
                                                                   9


 1 knew you faced from day one, a mandatory life

 2 sentence.    No one in this courtroom is happy about
 3 that.   The prosecution isn't happy.           You have heard
 4 Mr. Murphy.    He is the man who prosecuted you.            I'm
 5 not happy, and I'm the judge who must sentence you,

 6 but the point is I don't have a choice.              The law
 7 says someone who has two prior felony drug

 8 convictions and they are found guilty of another

 9 drug felony must go to life, mandatory life.              And
10 the -- Mr. Murphy alluded to the fact that your only

11 chance to avoid the statutory mandatory minimum of

12 life in prison was to negotiate with the Government

13 which meant that you would have been required to

14 cooperate.    You chose not to do that.             And I'm sure
15 all six of your attorneys discussed that with you

16 because they were very much aware of the fact that

17 you face life imprisonment.          So I only say that to
18 indicate that we are at this point because of

19 choices you made.      And if it's true as you say, you
20 always believed that you were innocent, then we are

21 at where we are supposed to be.           A jury found you
22 guilty and now you face the consequences.

23          So pursuant to the Sentencing Reform Act of
24 1984 and in consideration of the statute requiring

25 the mandatory minimum life imprisonment, the
         1:07-cr-10044-JBM-JAG # 96   Page 10 of 14
                                                          10


 1 defendant Corey L. Johnson is hereby committed to

 2 the custody of the Bureau of Prisons for a period of

 3 life imprisonment.

 4            The Court finds that the defendant must not
 5 have the ability to pay a fine now, and any income

 6 he earns while incarcerated should go toward the

 7 support of his children.      Therefore no fine is
 8 imposed.

 9            If released from custody, the defendant must
10 serve a ten-year term of supervised release.       Within
11 72 hours of his release from custody, he must report

12 in person to the Probation Office in the district to

13 which he is released.     And while on supervised
14 release, the defendant cannot commit another

15 federal, state or local crime nor possess a

16 controlled substance.     He must submit to one drug
17 test within 15 days of release from imprisonment,

18 and two drug tests thereafter as directed by the

19 Probation Officer.

20            Pursuant to statute the defendant must
21 cooperate in the collection of DNA as directed by

22 the Probation Officer or the Bureau of Prisons.

23            In addition to the standard conditions of
24 supervised release, the Court would impose the

25 following special conditions:
         1:07-cr-10044-JBM-JAG # 96   Page 11 of 14
                                                              11


 1           One, the defendant must refrain from any use
 2 of alcohol, and he cannot purchase, possess, use,

 3 distribute or administer any controlled substance or

 4 any paraphernalia related to any controlled

 5 substance except as prescribed by a physician.

 6           At the direction of the Probation Officer
 7 the defendant must participate in a program for

 8 substance abuse treatment including not more than

 9 six tests per month to determine whether he's used

10 substances and/or alcohol.         He must pay for those
11 services as directed by the Probation Officer.

12           Two, the defendant cannot own, purchase, or
13 possess a firearm, ammunition or other dangerous

14 weapon.   And he cannot associate with any member of
15 any street gang.    He cannot wear or carry on his
16 person any colors or any sign, symbol or

17 paraphernalia associated with gang activity.        Only
18 gang tattoos received prior to incarceration are not

19 considered a violation of this condition.

20           And lastly, a special assessment of $100 is
21 imposed payable immediately.

22           The Court would recommend to the Bureau of
23 Prisons that the defendant serve his sentence in a

24 facility as close to his family in the midwest as

25 possible, and one that will allow him to participate
          1:07-cr-10044-JBM-JAG # 96   Page 12 of 14
                                                                  12


 1 in the Comprehensive Drug Treatment Program and

 2 maximize his exposure to educational and vocational

 3 opportunities.

 4          The Court would advise the defendant of his
 5 right to appeal this sentence by filing a written

 6 notice of appeal within ten days of entry of

 7 judgment which will probably be today.              Your
 8 attorney can prepare and file a notice of appeal for

 9 you.   If for some reason your attorney is unable or
10 unwilling to do so and you wish to appeal, all you

11 will you have a to do is contact the Clerk of this

12 Court, indicate you want to appeal and the Clerk can

13 prepare and file a notice of appeal for you.               If you
14 cannot pay the cost of an appeal, you can ask for

15 leave to appeal without payment of cost, and if you

16 are found to be eligible, costs will be waived.

17          Do you understand your appeal rights?
18          THE DEFENDANT:      Yes.    I would like to ask if
19 you could appoint me an appeal attorney.

20          THE COURT:     I can't do that because under
21 the rules your present attorney is to represent you

22 on appeal unless he gets released by the Seventh

23 Circuit Court of Appeals and that would be the Court

24 to appoint you an appellate attorney.               So your
25 present attorney has an obligation, if you wish to
           1:07-cr-10044-JBM-JAG # 96   Page 13 of 14
                                                             13


 1 file a notice of appeal for you and to represent you

 2 on appeal unless he gets leave from the appellate

 3 court to withdraw as your appellate attorney.

 4           If the Court grants him leave to withdraw,
 5 then you can ask the appellate court to appoint you

 6 an appellate counsel, and they will have that issue.

 7           THE DEFENDANT:      Okay.
 8           THE COURT:     Now, here again, unsolicited
 9 advice.    Mr. Murphy alluded to the fact that the
10 Government had no choice but to accept the mandatory

11 life sentence because you did not do what you had to

12 do to obtain some relief from the Government in the

13 form of a 5K1.1 motion or Rule 35 motion which I'm

14 sure you know what those are, don't you?

15           THE DEFENDANT:      Yes.
16           THE COURT:     So the defendant is remanded to
17 the custody of the marshal to await execution of

18 sentence.

19           And this hearing is adjourned.
20           THE DEFENDANT:      Excuse me, can I visit with
21 my family, Mr. Judge McDade?          They came from out of
22 town.   I don't know if that's possible.
23           THE COURT:     Well, I will ask the marshal to
24 give you the opportunity to visit with your family

25 consistent with the policy of the office so...
         1:07-cr-10044-JBM-JAG # 96   Page 14 of 14
                                                            14


 1         (Which were all of the proceedings held on
 2         this day.)
 3                            *****
 4

 5      I certify that the foregoing is a correct
 6 transcript from the record of proceedings in the

 7 above-entitled matter.

 8

 9

10 s/Nancy Mersot            Date:     September 21, 2008
11 Court Reporter

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